Case 3:21-cv-01474-MEM-SH Document 60. Filed 05/02/25

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EXHIBIT A

Page 1 of 2
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Cee ook ORES:

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G QO) yy UCENSE 200800114 RECORDED IN MARRIAGE RECORD 00449 ATPAGE 00425

COUNTY OF ST. LOUIS

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This ficense aclforizes any clergyman, ender acitve or reiinéd, who isin good standing wilh any ofurat arsynago ye
in this Stale or any Judge of @ Cour! of. Record or a religio us sociely, religious institution, religrous organization fu 13
Sfale; according fo the regulations and cusfoms of lhe society, instifution or organization, when either partly fo the

marriage fo be solemnized is.a member of. such soctely, inslitulion ar erganrzation fo sofemnize Marriage belween

JOHNATHAN ROBINS m3

9 ORLANDO . ) mn Lbe Gounly of : DADE , and state of FL , aho
“7 OVER ~she age of eighteen years, and
ERICKA MICHELLE JOHNSON .
3 of SOUTH CAROLINA , in he County of HILTON HEAD and slate of SC , who
q 4 as OVER lhe age of edghleen years ep uheny.,
‘ : oa yen ee. ‘i .
BE 24 Witness iny hand as Recorder of Dd os with the Seal, of Office hereto affixed al my Picase § uM. Bouss County
pa) 4° y/ rete yfyf spwtary” 08. 2 YAK 4 3
/ ot Qi AML a Bs
: mpl wa Cop iat 10 Haran da:
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pie os
2] STATE OF MISSOURI Bet wees &
§ COUNTY OF ST.LOUIS % pctsiessa EY

This is fo Gerlifys

. Ubat lhe ‘indersigned
Honcrable Colleen Dalan, Cirouit Judge
PERSON PERFORMING CEREMONY _ : l 6TH .
Clayton, Missour! in said County, on the day of

city,
J anuary ” _ AD. 2 08 unile in Marriage lhe above named persons, and J.

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further Certify thal Lam legally qualified under the Sans of the fale of ‘Wssouri to sofemuucze Marriages.
Ce_

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JS wa on o.oo
pax)

ae SIGNATURE —
tnt Colleen Dolan, Circuit Judge
85 7 PRINTED NAMEJOFFICIAL TITLE WITNESS
7900 Carondelet: Ave. .
ce ADDRESS —
ed Clayton, Missouri 63105 - .
ye (2 4 CITY/STATE WITNESS ¢
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